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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________

MARY YOUNG,
                                                         Civil Action No. 12-CV-1090
                Plaintiff,
        v.


PREMIER RECOVERY GROUP, INC. and
JOEY YOUNGER,

            Defendant,
_________________________________________

                             STIPULATION OF DISCONTINUANCE

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys of record for all parties to the above entitled action, that whereas no party hereto is an

infant, incompetent person for whom a committee has been appointed or conservatee, and no person

not a party has an interest in the subject matter of the action, the above entitled action be, and the

same hereby is discontinued with prejudice and without costs to either party.

DATED:        10/4/2017                                  DATED: 10/4/2017

________________________
/s/   Seth J. Andrews                                   ________________________
                                                        /s/   David George Peltan
Seth J. Andrews, Esq.                                   David George Peltan, Esq.
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